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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


ADRIAN HEILBUT, JESSE BRODKIN, and
ENEA MILIORIS,                                             Case No. 1:24-cv-05948-JLR

                 Plaintiffs,                               DECLARATION OF ISAAC B.
                                                           ZAUR IN OPPOSITION TO
DAVID BREDT and GEOFFREY PITT,                             DEFENDANTS’ MOTION
                                                           TO STAY DISCOVERY
                 Intervenor-Plaintiffs,

            v.

CASSAVA SCIENCES, INC., REMI BARBIER,
and LINDSAY BURNS,

                 Defendants.


I, Isaac B. Zaur, declare as follows:

       1.          I am a partner at the law firm Clarick Gueron Reisbaum LLP, attorneys for

Plaintiffs Adrian Heilbut, Jesse Brodkin, and Enea Milioris in the above-captioned matter. I am

licensed in the State of New York and admitted to practice before this Court.

       2.          I submit this declaration in connection with Plaintiffs and Intervenor-Plaintiffs’

joint opposition, filed concurrently herewith, to Defendants’ motion to stay discovery (Dkt. 47).

       3.          Attached hereto as Exhibit A is a true and correct copy of the First Set of

Requests for the Production of Documents from Plaintiffs Heilbut, Brodkin, and Milioris to All

Defendants, dated January 13, 2025.

       4.          Attached hereto as Exhibit B is a true and correct copy of Intervenor-Plaintiffs

Dr. David Bredt and Dr. Geoffrey Pitt’s First Set of Requests for the Production of Documents,

dated January 13, 2025.



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         5.      The 28 requests for production served by Plaintiffs (see Exhibit A) and by

Intervenor-Plaintiffs (see Exhibit B) are identical.

         6.      Attached hereto as Exhibit C is a true and correct copy of the transcript of the

Initial Case Management Conference that was held in person before Magistrate Judge Ona T.

Wang on March 8, 2023, in the underlying defamation action, Cassava Sciences, Inc. v. Bredt, et

al., No. 1:22-cv-09409-GHW-OTW (S.D.N.Y.).

         7.       Attached hereto as Exhibit D is a true and correct copy of the October 27, 2022

press release issued by Cassava Sciences, Inc., titled “Cassava Sciences Announces Expansion of

Leadership Team,” available at: https://www.cassavasciences.com/news-releases/news-release-

details/cassava-sciences-announces-expansion-leadership-team

         I declare under penalty of perjury that the foregoing is true and correct.

Dated:        January 23, 2025
              New York, New York
                                                       /s/ Isaac B. Zaur
                                                       Isaac B. Zaur




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